            Case: 1:07-cr-00148-MRB Doc #: 377 Filed: 02/02/15 Page: 1 of 1 PAGEID #: 1402
AO 247 (Rev. 11/11) Order Regaining Motion for Sentence Reduction Pursuant to 18 U.S.C. §3582(cX2)        Page Iof2(Page 2Not for Public Disclosure)

                                       United States District Court
                                                                      for the

                                                          Southern District of Ohio


                   United States of America
                                  v.                                     )
     Wortley Champagnie, a/k/a Raheem George Foreman                     ) raseM0- 1-07-CR-148-03
                                                                         )    USMNo:         43593-112
Date of Original Judgment:         06-22-2009                            )
Date of Previous Amended Judgment:                                       )    Gordon G. Hobson, Esq.
(Use Date ofLas! AmendedJudgment ifAny)                                       Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                          PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of X the defendant O the Director of the Bureau of Prisons D the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §IB 1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          O DENIED. X GRANTED and the defendant's previously imposed sentenceof imprisonment (as reflected in
the lastjudgment issued) of 132months        months is reduced to             107months                .
                                            (Complete Parts I and 11 ofPage 2 whenmotion is granted)




Except as otherwiseprovided, all provisionsof the judgment dated                          06-22-2009         shall remainin effect.
IT IS SO ORDERED.


Order Date:             February 2,2015


Effective Date:        November 1,2015                                          SandraS. Beckwith, SeniorU.S. District Judge
                    (ifdifferentfrom order date)                                                 Printed name and title
